 

	
	
	
	
	OSCN Found Document:IN RE AMENDMENT OF RULE 5 OF RULES GOVERNING ADMISSION TO PRACTICE OF LAW

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
                
	    Court Dockets
			 

        
        Legal Research

        
        Calendar

        
        Help
    
    





				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				IN RE AMENDMENT OF RULE 5 OF RULES GOVERNING ADMISSION TO PRACTICE OF LAW2016 OK 57Case Number: SCBD-6349Decided: 05/23/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 57, __ P.3d __

				

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 




IN RE: AMENDMENT OF RULE 5 OF THE RULES GOVERNING ADMISSION TO THE PRACTICE OF LAW, 5 O.S. Supp. 2015, ch. 1, app. 5
ORDER
The Court's order of March 7, 2016, (2016 OK 29) amending Rule 5 of The Rules Governing Admission to the Practice of Law in the State of Oklahoma, is hereby amended. The following underlined language is added to Subsection C of the amended Rule 5: 


C) shall have attained a satisfactory score on The Multistate Bar Examination (MBE), when considered in combination with the score obtained in Subsection B; and 
In all other respects the order shall remain unchanged. The full changes to Rule 5, as amended and effective on June 1, 2016, are attached to this order.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 23rd day of May, 2016.
/S/CHIEF JUSTICE
Reif, C.J., Combs, V.C.J., Kauger, Winchester, Edmondson and Gurich, JJ., concur;
Watt, Taylor and Colbert, JJ., dissent.




Rules Governing Admission to the Practice of Law in the State of OklahomaChapter 1, App. 5Rule 5. Examination.
All applicants for admission by examination who shall have attained a grade of at least 75 in the subject of Oklahoma Rules of Professional Conduct and who shall attain an average grade of at least 75 on the examination given by the Board of Bar Examiners covering The Multistate Bar Examination (MBE) and combinations of the subjects hereinafter specified, and who are otherwise qualified under these Rules, shall be recommended by the Board of Bar Examiners for admission to the practice of law in this state.
All applicants for admission by examination who:
A) shall have attained a grade of at least 75% in the subject of Oklahoma Rules of Professional Conduct;
B) shall have attained an average grade of at least 75% on the examination given by the Board of Bar Examiners covering combinations of the subjects hereinafter specified; 
The following examination shall cover combinations of the following subjects:
1. Oklahoma Rules of Professional Conduct
2. Commercial Law, which may include:(a) Contracts(b) Uniform Commercial Code(c) Consumer Law(d) Creditor's rights, including bankruptcy
3. Property
4. Procedural Law, which may include:(a) Pleadings(b) Practice(c) Evidence(d) Remedies (damages, restitution and equity)
5. Criminal Law
6. Business Associations, which may include:(a) Agency(b) Partnerships (including joint ventures)(c) Corporations(d) Limited Liability Companies
7. Constitutional and Administrative Law
8. Torts
9. Intestate Succession, wills, trusts, estate planning, including federal estate and gift taxation
10. Conflicts of law
11. Family law
C) shall have attained a satisfactory score on The Multistate Bar Examination (MBE), when considered in combination with the score obtained in Subsection B; and 
D) are otherwise qualified under these rules
shall be recommended by the Board of Bar Examiners for admission to the practice of law in this state.
Any applicant who is otherwise qualified to be recommended for admission to the Bar except by reason of failure to pass satisfactorily the section of the Oklahoma Bar Examination concerning the Oklahoma Rules of Professional Conduct shall be eligible for re-examination on the subject Oklahoma Rules of Professional Conduct. Such re-examination shall be conducted by the Board at a time and place to be fixed by the Board and may be written or oral or both. If, upon such reexamination, the applicant receives a satisfactory grade in the subject Oklahoma Rules of Professional Conduct and is found by the Board to have otherwise qualified to be recommended for admission to the Bar, such applicant shall thereupon be so recommended. Any applicant who fails to receive a satisfactory grade upon such reexamination shall be required to reapply for permission to take a further examination concerning the Oklahoma Rules of Professional Conduct, which may be given at the discretion of the Board.
The following examination shall cover combinations of the following subjects:
1. Oklahoma Rules of Professional Conduct
2. Commercial Law, which may include:(a) Contracts(b) Uniform Commercial Code(c) Consumer Law(d) Creditor's rights, including bankruptcy
3. Property
4. Procedural Law, which may include:(a) Pleadings(b) Practice(c) Evidence(d) Remedies (damages, restitution and equity)
5. Criminal Law
6. Business Associations, which may include:(a) Agency(b) Partnerships (including joint ventures)(c) Corporations(d) Limited Liability Companies
7. Constitutional and Administrative Law
8. Torts
9. Intestate Succession, wills, trusts, estate planning, including federal estate and gift taxation
10. Conflicts of law
11. Family law
There shall be held two bar examinations each year, at dates, times, places and duration to be prescribed by the Board of Bar Examiners.




	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
